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  6 Attorneys for Plaintiff David Zindel, as Trustee
      for the David Zindel Trust and the Lizabeth Zindel Trust
  7

  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
      DAVID ZINDEL, as Trustee for the                Case No.: 2:18-CV-01435 PA (KSx)
 11
      David Zindel Trust and the Lizabeth
 12   Zindel Trust,
                                                      NOTICE OF APPEAL
 13
                        Plaintiff,
 14
            vs.
 15

 16   FOX SEARCHLIGHT PICTURES, INC.,
      a Delaware corporation; TWENTIETH
 17
      CENTURY FOX FILM
 18   CORPORATION, a Delaware
      corporation; TSG ENTERTAINMENT
 19
      FINANCE LLC, a Delaware limited
 20   liability company; MACMILLAN
      PUBLISHERS, LTD., a subsidiary of a
 21
      German limited liability company;
 22   GUILLERMO DEL TORO, an
      individual; DANIEL KRAUS, an
 23
      individual; and DOES 1 through 10,
 24   inclusive,
 25
                          Defendants.
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                                      NOTICE OF APPEAL
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Case 2:18-cv-01435-PA-KS Document 65 Filed 08/10/18 Page 2 of 2 Page ID #:642



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  2        NOTICE IS HEREBY GIVEN that David Zindel, as Trustee for the David
  3 Zindel Trust and the Lizabeth Zindel Trust, Plaintiff in the above named case,

  4 hereby appeals to the United States Court of Appeals for the Ninth Circuit from the

  5 Order Granting Defendants’ Motion To Dismiss and Judgment entered on the

  6 docket in this action on the 23rd day of July, 2018.

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  8                                    Respectfully submitted,
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 10
      Dated: August 10, 2018           Marc Toberoff
                                       TOBEROFF & ASSOCIATES, P.C.
 11

 12
                                        By: _____/s/ Marc Toberoff_______________
 13                                                  Marc Toberoff
 14                                    Attorneys for Plaintiff-Appellant David Zindel, as
                                       Trustee for the David Zindel Trust and the Lizabeth
 15                                    Zindel Trust,
 16                                     TOBEROFF & ASSOCIATES, P.C.
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 17                                     Malibu, CA 90265
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                                      NOTICE OF APPEAL
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